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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN


Jesse Kennedy,
                                               CIVIL ACTION NO.: 19-10458
     Plaintiff(s),
                                                HON. DENISE PAGE HOOD
v.

Arbor Professional Solutions, Inc.,

     Defendant(s).
                                      /

                                SCHEDULING ORDER

      This case, having come before the Court pursuant to Rule 16(b)(1)(A) of the Federal
Rules of Civil Procedure or Rule 16(b)(1)(B) status conference, the Court ORDERS the
following schedule controlling the progress of this case:

Initial Disclosures must be exchanged by:                    9/5/19

Amendments to Pleadings or Joinder of Parties
    must be filed by:

Initial Witness List must be exchanged by:                   12/19/19

Discovery must be completed by:                              2/20/2020

Alternative Dispute Resolution referrals may be ordered under Local Rules 16.3 to 16.7.
The parties may contact the Court no later than the discovery deadline for referral under
any of the ADR procedures. The Scheduling Order continues to govern the case during
the ADR process. See Local Rule 16.3(g).

Referrals to the Magistrate Judge: to be conducted during the month of January
2020

Motions (except trial motions in limine) must be filed by:   3/19/2020

     Motion practice is governed by Local Rule 7.1 and Appendix CM/ECF.
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Final Pretrial Conference:

     1)    A proposed Joint Final Pretrial Order (governed by Local Rule 16.2)
           must be submitted by and trial motions in limine
           must be filed by:                               6/15/2020

     2)    The final pretrial conference is set for: 6/22/2020 at 2:30 p.m.

     3)    Your client(s) or representative with full settlement authority must be present
           at the above conference.

Trial (Jury x or Bench   ) is set for:                      7/14/2020 at 9:00 a.m.
       No. of Days:    2

     1)    The parties must exchange exhibits listed in the JFPTO prior to trial. Exhibits
           and witnesses not listed in the JFPTO will not be presented at trial.
     2)    The parties must confer on proposed jury instructions prior to trial and submit
           one joint agreed to jury instructions on the first day of trial.

Other Requirements:
     1)   The Local Rules/Appendix ECF (www.mied.uscourts.gov or the Clerk’s
          Office for pro se litigants) and Federal Rules of Civil Procedures govern.
     2)   Submissions of proposed Orders are governed by Local Rules 5.2, 58.1 and
          Appendix CM/ECF.
     3)   A schedule may be modified only for good cause by leave of Court either
          through a Stipulation and Order submitted by the parties or, if no concurrence,
          by Motion. Fed. R. Civ. P. 16(b)(4); Local Rule 40.2.

Additional Matters:

                                         s/Denise Page Hood
                                         DENISE PAGE HOOD
Dated: August 21, 2019                   UNITED STATES DISTRICT JUDGE




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